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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


   VIXICOM, LLC,


          Movant,

   vs.                                               CASE NO.: 16-CV-00703-MSS/JSS

   FOUR CORNERS DIRECT, INC.,

         Respondent.
   _____________________________________/

                     NOTICE OF SERVICE OF GARNISHEE’S ANSWER

          Plaintiff, VIXICOM, LLC ("Vixicom"), by and through its undersigned counsel and

   pursuant to Florida Statutes § 77.055, hereby gives notice to the following: Four Corners

   Direct, Inc., c/o Martin A. Lothman, Registered Agent, 7417 Sanderling Road, Sarasota, FL

   34242; Martin A. Lothman, individually, 7417 Sanderling Road, Sarasota, FL 34242; and

   Lena Carlander Lothman, individually, 7417 Sanderling Road, Sarasota, FL 34242, that the

   Garnishee, Wells Fargo Bank, N.A., has served a Garnishee Answer attached hereto as

   Exhibit “A.”

                  NOTICE TO DEFENDANT AND/OR INTERESTED PARTIES
                    OF RIGHT TO DISSOLVE WRIT OF GARNISHMENT

          Pursuant to Fla. Stat. § 77.055, Judgment Debtor and/or all interested
          parties disclosed in the attached Answer of Garnishee are hereby notified
          that he/she must move to dissolve the Writ of Garnishment within 20 days
          after the date indicated on the certificate of service of this Notice if any
          allegation in the Motion for Writ of Garnishment is untrue.




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                                  CERTIFICATE OF SERVICE
          I hereby certify that on July 20, 2016, this document was filed via CM/ECF with the

   Clerk of Court, which will electronically serve a notice on all counsel and parties of record so

   authorized to receive. I also certify that this document was served via certified US mail on

   Four Corners Direct, Inc., c/o Martin A. Lothman, Registered Agent, 7417 Sanderling Road,

   Sarasota, FL 34242; Martin A. Lothman, individually, 7417 Sanderling Road, Sarasota, FL

   34242; and Lena Carlander Lothman, individually, 7417 Sanderling Road, Sarasota, FL

   34242via certified US Mail.

                                                        By: s/Daniel A. Krawiec
                                                        Daniel A. Krawiec
                                                        Florida Bar No. 59136
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                                                        Fax: 954-467-1024




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